             IN THE UNITED STATES DISTRICT COURT FOR THE
                  MIDDLE DISTRICT OF NORTH CAROLINA


United States of America,
                                             No. 12-cv-1349
                      Plaintiff;
        v.                                   UNITED STATES’ MOTION FOR
                                             SUMMARY JUDGMENT
Terry Johnson, in his official capacity as
Alamance County Sheriff,
                      Defendant.




                          Exhibit 5




   Case 1:12-cv-01349-TDS-JLW Document 89-6 Filed 03/03/14 Page 1 of 5
                                                                 US007773


Case 1:12-cv-01349-TDS-JLW Document 89-6 Filed 03/03/14 Page 2 of 5
                                                                 US007774


Case 1:12-cv-01349-TDS-JLW Document 89-6 Filed 03/03/14 Page 3 of 5
                                                                 US007775


Case 1:12-cv-01349-TDS-JLW Document 89-6 Filed 03/03/14 Page 4 of 5
                                                                 US007776


Case 1:12-cv-01349-TDS-JLW Document 89-6 Filed 03/03/14 Page 5 of 5
